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                         Nos. 24-1109 (L); 24-1144


                                   In the

United States Court of Appeals
               For the Federal Circuit
                            __________________

HONEYWELL INTERNATIONAL INC.; HAND HELD PRODUCTS, INC.; METROLOGIC
                       INSTRUMENTS, INC.,
                                            Plaintiffs-Appellants,
                                     v.
                        OPTO ELECTRONICS CO., LTD.,
                                               Defendant-Cross-Appellant.
                           __________________

            On Appeal from the United States District Court
              for the Western District of North Carolina
                   Case No. 3:21-cv-506-KDB-DCK
                        __________________

    REPLY TO MOTION TO DISMISS OR TRANSFER APPEALS
    TO U.S. COURT OF APPEALS FOR THE FOURTH CIRCUIT
                     __________________

                                      Brian D. Schmalzbach
                                      MCGUIREWOODS LLP
                                      Gateway Plaza
                                      800 East Canal Street
                                      Richmond, VA 23219
                                      bschmalzbach@mcguirewoods.com

                 Counsel for OPTO Electronics Co., Ltd.
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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 24-1109; 24-1144
   Short Case Caption Honeywell International Inc. v. OPTO Electronics Co., Ltd.
   Filing Party/Entity OPTO Electronics Co., Ltd.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        12/11/2023
  Date: _________________                   Signature:    /s/ Brian D. Schmalzbach

                                            Name:         Brian D. Schmalzbach




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FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in             3. Parent Corporations
         Entities.                            Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of        Provide the full names of
 all entities represented by          all real parties in interest     all parent corporations for
 undersigned counsel in               for the entities. Do not list    the entities and all
 this case.                           the real parties if they are     publicly held companies
                                      the same as the entities.        that own 10% or more
                                                                       stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable            ‫܆‬
                                                                       ✔ None/Not Applicable




OPTO Electronics Co., Ltd.




                                  ‫܆‬      Additional pages attached




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FORM 9. Certificate of Interest                                                                   Form 9 (p. 3)
                                                                                                   March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable                      ‫܆‬        Additional pages attached
McGuireWoods LLP - Robert A.         McGuireWoods LLP - Tyler T.         Reichman Jorgensen Lehman &
Muckenfuss                           VanHoutan                           Feldberg LLP - Christine E. Lehman

McGuireWoods LLP - Zachary L.        YorkMoodyFaulkner - York M.
McCamey                              Faulkner

McGuireWoods LLP - Jessica L. O'Brien Reichman Jorgensen Lehman &
                                     Feldberg LLP - Connor S. Houghton



 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                                     ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable                      ‫܆‬        Additional pages attached




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                            INTRODUCTION

     The sole proffered basis for this Court’s jurisdiction over these breach

of contract appeals is Honeywell’s assertion that one counterclaim requires

adjudicating “patent enforceability.” But Honeywell ignores that the so-

called “patent unenforceability” counterclaim under the patent misuse

doctrine hinges on a contractual license defense: Honeywell covenanted not to

enforce its patents against OPTO’s laser scanning products.              The

unenforceability at issue here does not (1) implicate any substantial patent-

law question such as inequitable conduct before the U.S. Patent and

Trademark Office; (2) disturb the enforcement of Honeywell’s patents

against anyone but OPTO; or (3) affect the enforcement of those patents

against any OPTO products other than the laser scanners at issue. That is

because the patent misuse issue here is grounded not in patent law, but in

Delaware contract law that does not implicate this Court’s appellate

jurisdiction. So this Court should dismiss the appeals for at least three

reasons.

     First, the patent misuse counterclaim does not arise under any “Act of

Congress relating to patents.” 28 U.S.C. § 1295(a)(1). Nor does Honeywell

identify any patent statute under which that equitable counterclaim

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arises. Instead, Honeywell asks the Court to ignore the statutory text and

substitute a relaxed requirement for any patent-related source of law. But

Congress’s chosen words control. A counterclaim under judge-made law—

even one that puts patent enforceability in play—does not trigger this

Court’s jurisdiction.

      Second, the resolution of OPTO’s counterclaim does not—as it must—

“necessarily depen[d]” on resolution of any patent law question. This patent

misuse issue becomes relevant only under the district court’s mistaken

construction and application of the contract. Correcting those errors of

Delaware contract law will eliminate the need to address patent misuse at

all. This is true because when properly construed, the contract’s definition

of royalty-bearing products does not encompass OPTO’s laser scanning

products in the first place. An issue that the Court need not reach is not one

on which the counterclaim “necessarily depends.”

      Third, there is no substantial question of patent law at stake. The

question is limited to the contractual relationship between OPTO and

Honeywell, concerning the interpretation and enforcement of Honeywell’s

broad contractual covenant not to sue over specific OPTO laser scanners.

That question thus is “limited to the parties and the patent[s] involved in
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this matter.” Xitronix Corp. v. KLA-Tenecor Corp., 882 F.3d 1075, 1078 (Fed.

Cir. 2018). And both the subsequent history of this case and the district court

itself confirmed that OPTO’s counterclaim in fact concerns the enforcement

of the royalty provisions of this contract as to certain OPTO products—not

the enforcement of any patent beyond Honeywell’s covenant not to

sue. Such a case thus presents no substantial question under any patent

statute, and there is no basis to exercise this Court’s jurisdiction here.

I.    OPTO’s Answer presents no question arising under “any Act of
      Congress relating to patents.”

      As relevant here, this Court’s jurisdiction reaches only those

compulsory counterclaims that arise under an “Act of Congress relating to

patents.” 28 U.S.C. § 1295(a); Motion 11–13. Honeywell does not even try to

show any patent statute under which the “judicially created patent misuse

doctrine” arises. Illinois Tool Works, Inc. v. Indep. Ink, Inc., 547 U.S. 28, 31

(2006). Indeed, Honeywell concedes that “‘patent misuse arises in equity.’”

Opposition 7 (cleaned up). And Honeywell does not explain how “Act of

Congress relating to patents” could require anything but a patent statute.

      So Honeywell tries to side-step that statutory requirement altogether.

Instead, it would substitute a judicial shorthand reference to “‘federal patent


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law.’” Opposition 12 (quoting Christianson v. Colt Indus. Op. Corp., 486 U.S.

800 (1988)). That phrase, Honeywell supposes, somehow extended § 1295 to

all claims touching on patents, whether or not arising under a federal patent

statute.

      But Congress’s words control.       And Christianson itself confirms

Congress’s words: “the jurisdictional issue before us turns on whether this

is a case ’arising under’ a federal patent statute.” 486 U.S. at 807 (emphasis

added). Christianson’s later shorthand reference to “federal patent law” does

not excuse the jurisdictional requirement of arising under a patent statute.

Nor could it: “Federal courts simply may not presume to create jurisdiction

where Congress declines to do so.” Nat’l Presto Indus., Inc. v. Dazey Corp.,

107 F.3d 1576, 1583 (Fed. Cir. 1997). Indeed, Christianson did not even

consider jurisdiction over nonstatutory patent claims. Rather, it addressed

jurisdiction based on a claim of patent invalidity under 35 U.S.C. § 112. 486

U.S. at 810–11.1




1 Christianson ultimately held that there was no “arising under” jurisdiction

because plaintiff could win on an antitrust theory unrelated to patent law.
486 U.S. at 810–11.
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      Honeywell gestures at 35 U.S.C. § 271(d), but cannot bring itself to say

that OPTO’s counterclaim arises under that patent statute. Opposition 8.

Honeywell’s reticence is justified. OPTO’s Answer does not even cite that

statute—or any other statute related to patents.2        Nor does Honeywell

dispute that the limitations in § 271(d) are irrelevant here. See Motion 15.

Because there is thus no patent statute under which OPTO’s counterclaim

arises, the Court’s jurisdictional analysis can end here.

II.   OPTO’s Answer presents no necessary or substantial question under
      federal patent law.

      In any event, this case presents neither a “necessary” nor a

“substantial” question of patent law, let alone under a federal patent statute.

The parties agree that the relevant patent question must be both necessary

and substantial for this Court to exercise jurisdiction. Opposition 5; Motion

15.

      A.    OPTO’s counterclaim does not necessarily depend on any
            question of patent law.

      OPTO s counterclaim does not raise a necessary question of federal


statutory patent law. Motion 15; Christianson, 486 U.S. at 808 (federal law


2 The only two federal statutes OPTO’s Answer cites are the diversity and

venue provisions, 28 U.S.C. §§ 1332(a) & 1391. Answer, Defense ¶¶ 6, 9.
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must be a “necessary element of one of the well-pleaded … claims”) (cleaned

up).   Honeywell scarcely addresses this requirement.           That dooms its

jurisdictional argument.

       For a patent law question to be necessary, it must be “essential” to every

theory in support of a claim. Christianson, 486 U.S. at 811; FTC v. AbbVie Inc.,

976 F.3d 327, 347 (3d Cir. 2020) (“a claim supported by alternative theories

in the complaint may not form the basis for [the Federal Circuit’s exclusive

jurisdiction] unless patent law is essential to each of those theories”) (quoting

Christianson, 486 U.S. at 810).     OPTO could (and should) succeed here

without a court ever having to decide any patent misuse question. Motion

15.

       OPTO’s counterclaim becomes relevant only if a court adopts

Honeywell’s misconstruction of the contract. Thus, a court could (and

should) dispose of the counterclaim (and this case as a whole) by ruling in

OPTO’s favor as to the contract’s construction. It is, and always has been,

OPTO’s position that Honeywell is only engaging in patent misuse if the

Court accepts Honeywell’s contract construction and royalty demands on




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the sales of OPTO’s laser scanning products. Answer, Defenses ¶¶ 24–25; 3

Tr. of MSJ Hearing 91 (Dkt. 204) (Counsel for OPTO: “It’s only patent misuse

based on their reading of the contract as set forth in this litigation”); Motion

5–6.

       If, on the other hand, the Court were to (properly) construe the contract

in OPTO’s favor, there would be no patent misuse. This case thus would be

decided purely on state-law grounds without any reference to patent law.

See, e.g., Jim Arnold Corp. v. Hydrotech Sys., Inc., 109 F.3d 1567, 1574 (Fed. Cir.

1997) (finding no Federal Circuit jurisdiction over a case in which “in order

for the…court to reach the patent infringement claim, it first must resolve

[state law claim]”). As underscored by the Supreme Court in Christianson,

“a claim supported by alternative theories in the [pleading] may not form

the basis for § 1338(a) jurisdiction unless patent law is essential to each of

those theories.” 486 U.S. at 810. OPTO’s patent misuse counterclaim can be

resolved by the proper construction of the contract’s royalty provisions and




3 Honeywell argues that OPTO focuses on it “patent misuse defense” rather

than its “separate patent unenforceability counterclaim.” Opposition 16
(cleaned up). But the two are one and the same. OPTO specifically
incorporates its patent misuse defense into its patent misuse counterclaim.
Answer, Counterclaims ¶ 59.
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enforcement of Honeywell’s contractual covenant not to sue without resort

to patent law.

      B.    OPTO’s counterclaim presents no substantial question of
            patent law.

      OPTO’s patent misuse counterclaim does not present a substantial

question of patent law either—even if the contract’s royalty provisions are

misconstrued as encompassing OPTO’s laser scanning products. Motion 19–

25. Any patent misuse issues are not substantial for purposes of this Court’s

jurisdiction for two reasons.

      First, the patent misuse question here is not substantial because it looks

backwards at one specific contractual relationship. See Motion 19–22. The

issue is whether Honeywell’s conditioning of its covenant not to sue on the

presence or absence of non-patented product features in OPTO’s laser

scanning products is an unlawful extension of Honeywell’s expired patents

and the patents included in its covenant not to sue. Motion 7. That contract-

based question does not implicate this Court’s specialized jurisdiction. And

resolving that issue in OPTO’s favor would result in an outcome “limited to

the parties and the patent[s] involved in this matter.” Xitronix Corp., 882 F.3d

at 1078.


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      The result would be “limited to the parties and the patent[s] involved

in this matter” because the relief that OPTO seeks arises exclusively from the

parties’ contract. The unenforceability sought in OPTO’s counterclaim is

narrowly confined to Honeywell’s contractual covenant not to sue based on

OPTO’s sales of laser scanning products.      Answer, Counterclaims ¶ 69

(Honeywell misused its licensed patents by “imposing royalties on OPTO

1D laser scanning barcode readers that are immune from royalties and suit

under the covenant not to sue”).4 Indeed, OPTO’s Answer confirms that

OPTO does not contest the enforceability of any contractual royalty

obligation regarding its sales of 2D imaging products.                   Answer,

Counterclaims ¶ 42 (“OPTO timely and fully paid all patent royalties due

and owing on its barcode readers ‘that include a 2D image sensor’”). And

the substance of OPTO’s counterclaim concerns only the enforceability of




4 Honeywell misleadingly crops its quotation of Paragraph 59 of OPTO’s

counterclaim leaving out the italicized language: “OPTO is entitled to a
declaration that the licensed patents under the Agreement are unenforceable
due to Honeywell’s patent misuse for the reasons set forth in Paragraphs 14-25
of OPTO’s Affirmative Defenses.” Opposition 3 & 6. Paragraph 25 of OPTO’s
patent misuse affirmative defense limits the relief sought to OPTO’s laser
scanner sales: “Honeywell’s covenant not to sue places OPTO’s laser scanning
barcode readers beyond the scope of the right to exclude inherent in the
licensed patents” (emphasis added).
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Honeywell’s patents consistent with Honeywell’s covenant not to sue in the

parties’ contract. The mere mention of “patent unenforceability” does not

convert the contract-based counterclaim to any subject matter within this

Court’s exclusive jurisdiction.

      This Court rejected such a form-over-substance approach to

jurisdiction in Jim Arnold, 109 F.3d at 1567. That complaint in that case

alleged breach of a licensing agreement as well as a count for “Patent

Infringement” based on the alleged nullity of various patent assignment

agreements.    Yet this Court held that “[v]iewed in its entirety,” the

“complaint leaves no doubt that plaintiff’s suit is premised on a state-law

based set of claims arising out of an alleged breach of an assignment and

royalty agreement.” Id. at 1574. The Court concluded that the “Patent

Infringement” cause of action did “not change the clear gravamen of the

complaint,” which concerned state contract law. Id. So too here, the Court

should look to the substance of OPTO’s counterclaim, which is premised on

Honeywell’s contractual covenant not to sue. The mere assertion of “patent

unenforceability” in OPTO’s counterclaim thus does not extend this Court’s

jurisdiction over these contract appeals.



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      Second, the history of this litigation leaves no doubt that OPTO’s

counterclaim presents no substantial question of patent enforceability

beyond Honeywell’s covenant not to sue. Motion 22. Honeywell urges this

Court to ignore evidence of subsequent litigation conduct. Opposition 9–10.

But this Court routinely looks to subsequent litigation conduct to

understand the true nature of the claims pled. Rather than violating the

“well-pleaded” complaint rule, this is vital to understanding the well-

pleaded claim. Xitronix Corp., 882 F.3d at 1076; see also Old Dominion Elec. Co-

op. v. PJM Interconnection, LLC, 24 F.4th 271, 284 n.9 (4th Cir. 2022) (citing 14C

Charles A. Wright et al., Federal Practice & Procedure § 3734 (rev. 4th ed.

2021)) (holding it proper to “consider[] matters outside of the” pleadings in

jurisdictional analysis)).

      The subsequent case history makes clear that “OPTO is not challenging

the enforceability of any of Honeywell’s patents” beyond Honeywell’s

covenant not to sue. Def. Response in Opp. to Pl. MSJ on Patent Misuse 1

(Dkt. 188). As stated in its counterclaim, the specific relief that OPTO seeks

is limited exclusively to Honeywell’s ability to collect royalties on OPTO’s

sales of its laser scanning products.



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      Given Honeywell’s covenant not to sue and its expired patents, OPTO

seeks a declaration that “the royalty collection provisions of the Settlement

and License Agreement [are] unenforceable” because the “’license

agreement provides royalties for post-expiration use of a patent.’” OPTO

Patent Misuse MSJ 1-2 (quoting Kimble v. Marvel Ent., LLC, 576 U.S. 446, 459

(2015)). Even the district court recognized (contra Opposition 10-11) that

OPTO sought an order only “declaring the royalty collection provisions of

the Agreement unenforceable.” SJ Order 17 n.11 (Dkt. 195).

      Indeed, Honeywell does not dispute that the proper remedy for patent

misuse here is holding the contract royalty provision unenforceable as to the

specific OPTO products at issue. See Motion 8; Kimble, 576 U.S. at 453. Nor

does Honeywell contest that questions of contract enforceability present no

substantial federal patent questions. Motion 13; see also Jim Arnold Corp., 109

F.3d at 1572 (“It is well-settled” that causes of actions “based on rights

created by a contract” are not ones “’arising under’ the patent laws.”).

Because the substance of OPTO’s counterclaim is a creature of contract law,

this case thus presents no substantial question of patent enforceability

beyond Honeywell’s contractual covenant not to sue.                This Court’s

jurisdiction thus is not implicated.
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                              CONCLUSION

      For these reasons, this Court should dismiss these appeals for lack of

appellate jurisdiction under 28 U.S.C. § 1295(a)(1).

Dated: December 11, 2023            Respectfully submitted,

                                    /s/ Brian D. Schmalzbach
                                    Brian D. Schmalzbach
                                    MCGUIREWOODS LLP
                                    Gateway Plaza
                                    800 East Canal Street
                                    Richmond, VA 23219
                                    (804) 775-4746
                                    bschmalzbach@mcguirewoods.com

                                    Counsel for OPTO Electronics Co., Ltd.




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                    CERTIFICATE OF COMPLIANCE

     1.    This motion complies with the type-volume limitations of Fed.

R. App. P. 27(d)(2)(A) because it contains 2,393 words, excluding the parts

of the brief exempted by Fed. R. App. P. 32(f).

     2.    This motion complies with the typeface and type-style

requirements of Fed. R. App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because

it has been prepared in a proportionally spaced, 14-point Book Antiqua font

using Microsoft Word.

                                          /s/ Brian D. Schmalzbach
                                          Brian D. Schmalzbach




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                         CERTIFICATE OF SERVICE

     I hereby certify that on December 11, 2023, the foregoing was filed with

the Clerk of the United States Court of Appeals for the Federal Circuit using

the appellate CM/ECF system, which will also serve counsel of record.

                                          /s/ Brian D. Schmalzbach
                                          Brian D. Schmalzbach




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